AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       Eastern District
                                                       __________       of North
                                                                    District     Carolina
                                                                             of __________

     JASON WILLIAMS                                                           )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 4:19-cv-00153
                                                                              )
     AT&T MOBILITY, LLC                                                       )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
        TPUSA - FHCS, Inc.
To: 5295 South Commerce Drive, Suite 600
        Murray, UT 84107
                                                       (Name of person to whom this subpoena is directed)

     ✔
     ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
                See Schedule A.


 Place: CitiCourt Reporting                                                             Date and Time:           October 9, 2020
        236 S 300 East                                                                                           10 a.m.
        Salt Lake City, UT 84111-2502
     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 9/3/2020

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jason Williams
                                                                        , who issues or requests this subpoena, are:
Christopher LaVigne, Withers Bergman LLP, 430 Park Avenue, New York, NY 10022, Christopher.LaVigne@withersworldwide.com, (212) 848-9800

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                        Case 5:19-cv-00475-BO Document 52 Filed 09/23/20 Page 1 of 2
Case 5:19-cv-00475-BO Document 52 Filed 09/23/20 Page 2 of 2
